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§§ §§§§§
IN THE UNITED STATES DISTRlCT COURT 12 hug m 5 h
FOR THE DISTRICT OF NEW MEXICO CLERK“LA$M

UNITED S`TATES oF AMERICA, )

quintif£ § CRIMINAL No. | !l~ _ [¢_§{ {05§ §§

vs. § 8 U.S.C. §§ 1326(a) and 1326(b):
) Re-entry of a Removed Alien

JOSE LUIS CARDOZA-FACIO, )
Defendant. §
_TN_E.Q_R_IV.I._A_I_IO_N

The Un"jted- States Attorney charges:

On or about August 2, 2012, the defendant, JOSE- LUIS CARDOZA-FACIO, an alien,
having knowineg reentered the United States,- was found in Luna County, in the Distri_ct of New_
Mexico, contrary to law in that on or about May 1 5, 201 1, the defendant had been deported, excluded
and rernoved and departed the United States, while an Order of Exelusion, Deportation and Removal
Was outstanding, and the defendant had not obtained the express consent of the Secretary'for
Homeland Security to reapply for admission into the Unite_d States.

ln violation of 8 U.s.c. §§ 1326(&) and lzze(b).

KENNETH J. GONZALES
United States At_tomey

    

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